         Case 1:21-cr-00670-CJN Document 205 Filed 10/21/24 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                         )
                                                  )
                  Plaintiff,                      )
                                                  )
                                                       No. 1:21-cr-670-CJN
v.                                                )
                                                  )
STEPHEN K. BANNON,                                )
                                                  )
                   Defendant.                     )
                                                  )

                NOTICE REGARDING BUREAU OF PRISONS LETTER

       On August 29, 2024, Stephen K. Bannon filed a motion to reimpose bail or impose a period

of supervised release. ECF No. 201. The government opposed on September 12, 2024, ECF No.

202, and Mr. Bannon filed his reply on September 13, 2024, ECF No. 203. In that briefing, the

government argued that Mr. Bannon had not exhausted his alternative request for a period of

supervised release. Mr. Bannon’s reply contended that exhaustion was unnecessary here.

       Mr. Bannon now brings to the Court’s attention that, in the attached letter, the Acting

Warden has denied Mr. Bannon’s request for home confinement despite agreeing that Mr. Bannon

has accrued ten days’ worth of First Step Act credits. Those credits mean that Mr. Bannon could

have been released to home confinement two days ago on October 19, 2024 (i.e., 10 days before

the end of his sentence)—yet the BOP declined to do so, citing its view that there is “insufficient

time” remaining on Mr. Bannon’s sentence “to process” the referral to home confinement.

       The government provides no other reason for denying such a release. Accordingly, but for

that bureaucratic processing delay, Mr. Bannon presumably would have been released to home

confinement two days ago. There is no reason for Mr. Bannon to remain in prison despite earning

those credits. The Court should grant Mr. Bannon’s motion and order him released immediately.

                                                1
        Case 1:21-cr-00670-CJN Document 205 Filed 10/21/24 Page 2 of 3




October 21, 2024
                                    By: /s/ R. Trent McCotter

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                                      2
         Case 1:21-cr-00670-CJN Document 205 Filed 10/21/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, which will serve all registered attorneys in this case.

                                              /s/ R. Trent McCotter
                                             R. Trent McCotter




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